                  Case 19-50740-JKS              Doc 35       Filed 10/25/21         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                                Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                Case No. 17-12560 (JKS)
al.,2
                                                                      (Jointly Administered)
                              Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP OF
COMPANIES, LLC, et al.,                                               Adversary Proceeding
                                                                      Case No. 19-50740 (JKS)
                                    Plaintiff,
                         vs.
                                                                      Ref. Adv. Docket Nos. 17, 18, 21, 24
SUMNER ABRAMSON, IN HIS CAPACITY AS
TRUSTEE OF THE SUMNER ABRAMSON
REVOCABLE LIVING TRUST; SUMNER
ABRAMSON,

                                    Defendants.

                   ORDER VACATING: (I) CLERK’S ENTRY OF DEFAULT
                          AND (II) JUDGMENT BY DEFAULT

         Upon consideration of the Certification of Counsel;3 and upon review of such

certification; and good and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED that:

         1.       The Entry of Default entered by the Court on June 19, 2020 [Adv. Docket No. 18]

is hereby VACATED.

         2.       The Judgment by Default [Adv. Docket No. 21] entered by the Court on April 13,

2021 [Adv. Docket No. 24] is hereby VACATED.



2
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.
3
  Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
Certification of Counsel.


DOCS_DE:234410.1 94811/003
                  Case 19-50740-JKS       Doc 35      Filed 10/25/21    Page 2 of 2




        3.       This Court shall have exclusive jurisdiction and power to resolve any dispute

arising out of, relating to, or deriving from this Order and has the jurisdiction and power to enter

a final order thereon.




                                                            J. KATE STICKLES
       Dated: October 25th, 2021
                                                            UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware



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